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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE



    UNITED STATES OF AMERICA                                                             PLAINTIFF

    VS.                                                                        NO. 3:07CR-117-05-S

    JOHN A. YARBROUGH                                                                  DEFENDANT



                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

           This matter has been referred to the undersigned Magistrate Judge by the District Court

    for the purpose of conducting proceedings pursuant to Fed.R.Crim.P. 11. The appropriate

    wavier was executed by the defendant and filed in the record. The United States was represented

    by Ann Claire Phillips, Assistant United States Attorney. The hearing was recorded by Carola

    Strijek, Contract Court Reporter. The Defendant, John A. Yarbrough, by consent and with

    Raemona D. Byrd-Jones, CJA appointed counsel, appeared in open court on June 12, 2008, and

    entered pleas of guilty as to Counts 1, 3, 4, 6,7,8,9 of the Superseding Indictment and agreed to

    forfeiture under Count 17 of the Superseding Indictment. Counts 2 and 5 will be dismissed at

    time of sentencing pursuant to a Rule 11(c)(1)(A) and ( C) plea agreement. After cautioning

    and examining the Defendant under oath concerning each of the subjects mentioned in Rule 11,

    The Court determined that the guilty pleas were knowledgeable and voluntary as to Counts

    1.3.4.6.7.8.9 of the Superseding Indictment, and that the offenses charged were supported by an

    independent basis in fact concerning each of the essential elements of such offenses. Therefore,

    the undersigned recommend’s that the pleas of guilty be accepted, and that the Defendant be

    adjudged guilty as to Counts 1,3,4,6,7,8,9 in the Superseding Indictment and have sentence

    imposed accordingly.
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           Sentencing is hereby scheduled for September 4, 2008, at 11:00 a.m. before the

    Honorable Charles R. Simpson, United States District Court Judge.

           The defendant shall have ten (10) days to file any objections to this recommendation

    pursuant to Fed.R.Crim.P. 72(b), or waive the opportunity to do so.

                  IT IS HEREBY ORDERED that the defendant shall be remanded to the

    custody of the United States Marshal.




    Copies to:
    United States Attorney
    Counsel for Defendant                                               June 16, 2008
    United States Marshal
    United States Probation




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